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                   IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

TRACY COHEN                                        )
                                                   )       No. 1:24-cv-569
                    Plaintiff,                     )
                                                   )
          vs.                                      )
                                                   )
KERING, GUCCI,                                     )       Hon. Judge Martha M. Pacold
GUCCI AMERICA, INC., and                           )
GUCCI NORTH AMERICAN                               )       Hon. Magistrate Judge Jeffrey T. Gilbert
HOLDINGS,                                          )
                                                   )       JURY TRIAL DEMANDED
                    Defendants.                    )

                                      JOINT STATUS REPORT


          Pursuant to the Court’s Order of July 12, 2024 [ECF No. 23], the Parties hereby submit the

following updated Status Report.


     1. Depositions that have been taken:

                a. Michael Aguilera on June 17, 2024

     2. Depositions that have been scheduled:

                a. Tracy Cohen: September 18

                b. Elizabeth Kolosa: October: 17

                c. Amy Hannaford: October: 10

                d. Lisa Gutierrez: October 22

     3. Depositions the parties are in the process of scheduling:

                a. David Benjamin

     4. Status of written discovery and document production:

                    Defendants have roughly 25,000 documents ready to produce to Plaintiff upon this

          Court’s entry of Protective Order. Defendants have proffered this Court’s Form LR 26.2

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          Model Confidentiality Order to Plaintiff, but she seeks to incorporate revisions to which

          Defendants object. Defendants have noticed a motion before the Court for Tuesday, August

          13, 2024 at 9:30 a.m. seeking entry of the Form LR 26.2 Model Confidentiality Order. Upon

          the Court’s entry of an Order, Defendants will produce the same.




Dated: August 8, 2024


Respectfully submitted,


/s/ Tamara Holder                                              /s/ Rachel Cowen
Tamara Holder                                                  Rachel Cowen
Attorney for Plaintiff                                         Attorney for Defendants

                                                               /s/ Kristin Taylor
                                                               Kristin Taylor
                                                               Attorney for Defendants


                                                               Report Filed By:
                                                               By: /s/ Kristin A. Taylor_________
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